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 1                                                                       The Honorable Robert S. Lasnik

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 7
                                         UNITED STATES DISTRICT COURT
 8                                      WESTERN DISTRICT OF WASHINGTON
                                                  AT SEATTLE
 9

10   KELLY BOLDING, and MICHAEL
     MANFREDI, individually and on behalf of                   No. C17-0601 RSL
11   a class of all others similarly situated,
                                                               STIPULATION AND
12                                      Plaintiffs,            ORDER REGARDING EXPERT
                                                               REPORTS AND EXPERT
13            v.                                               DEPOSITIONS
14   BANNER BANK, a Washington Corporation,
15                                      Defendant.
16

17                                                    STIPULATION
18            The parties, by and through their counsel, stipulate to the following regarding an
19   extension of the expert rebuttal report deadline and expert deposition scheduling. The parties
20   jointly request that the Court enter the following Order approving this Stipulation. In support,
21   the parties represent the following to the Court:
22            1.        On September 2, 2020, Plaintiffs served their expert report, consistent with the
23   Amended Case Scheduling Order [Dkt. 205]. See Fed. R. Civ. P. 26(a)(2)(B).
24            2.        Defendant Banner Banks’s rebuttal expert report is currently due on October 2,
25   2020. See Fed. R. Civ. P. 26(a)(2)(D)(2).
26            3.        Banner requested to take the deposition of Plaintiffs’ expert the week of
27   September 21, 2020. Plaintiffs provided two alternative dates during that same requested week
     STIPULATION AND ORDER
                                                                                   Davis Wright Tremaine LLP
     (C17-0601RSL) - 1                                                                      L AW O FFICE S
     4815-0515-3483v.2 0058243-000340                                                 1201 Third Avenue, Suite 2200
                                                                                        Seattle, WA 98101-3045
                                                                                 206.622.3150 main · 206.757.7700 fax
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 1   for Defendant to depose Plaintiffs’ Expert. Due to scheduling conflicts that later came up with

 2   Defendant’s counsel, the first mutually agreeable deposition date for the expert deposition was

 3   September 30, 2020.

 4            4.        Given the timing of the deposition in relation to the rebuttal expert deadline,

 5   Banner requested a one-week extension of the October 2, 2020 rebuttal expert deadline until

 6   October 9, 2020.

 7            5.        Plaintiffs agreed to Banner’s requested extension on the condition that Banner

 8   agree to (a) coordinate dates for the deposition of Banner’s rebuttal expert, (b) accept service of

 9   subpoenas on behalf of Banner’s rebuttal expert, (c) allow a one-week extension of the

10   November 4, 2020, discovery cutoff if necessary to allow Plaintiffs sufficient time to depose

11   Banner’s rebuttal expert before the discovery cutoff, and (d) disclose the name of the rebuttal

12   expert upon filing of this Stipulation. Banner agreed to these terms on the express

13   understanding that the extension of the discovery cutoff was limited to Plaintiffs’ deposition of

14   the rebuttal expert only, and no other discovery.

15            6.        Based on the foregoing, the parties stipulate and jointly request that the Court

16   enter the proposed Order below approving the following:

17                      a.       Banner’s Rebuttal Expert Report deadline is continued to October 9,

18                               2020;

19                      b.       If necessary for Plaintiffs to depose Banner’s rebuttal expert, Plaintiffs

20                               shall have a one-week extension of the discovery cutoff to November 11,

21                               2020. This extension is for the limited purpose of Plaintiffs taking

22                               Banner’s rebuttal expert deposition only.

23            It is so stipulated and presented by the following counsel this 17th day of September,

24   2020.

25   ///

26   ///

27   ///
     STIPULATION AND ORDER
                                                                                      Davis Wright Tremaine LLP
     (C17-0601RSL) - 2                                                                         L AW O FFICE S
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     Attorneys for Plaintiffs                            Attorneys for Defendant Banner Bank
 2

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 4   Richard E. Goldsworthy, WSBA No. 40684              Sheehan Sullivan Weiss, WSBA #33189
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11                                             ORDER
              The Court has considered and approves the parties’ stipulation. IT IS SO ORDERED.
12
                          18th day of September
              DATED this _____        ________, 2020.
                                                 020.
13

14
                                                 Robert
                                                  obert S
                                                        S. Lasnik
15                                               UNITED STATES DISTRICT JUDGE
16   Presented by:
17
     Davis Wright Tremaine LLP
18   Attorneys for Defendant Banner Bank

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27
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     STIPULATION AND ORDER
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